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                                        EXHIBIT – A
                         Case 3:21-cv-05617-TL Document 1-1 Filed 08/25/21 Page 2 of 4
    I
                                                                                                 IN COUNTY CLE     OFFICE
                                                                                               PIERCE COUNTY,      HINGTON

                                                                                                    July 15 2021   PM
         1                                                                                             KEVIN S'
                                                                                                      COUNTY ,
         2                                                                                          NO: 21-2-1      7

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         5

v        6

         7

         8                IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                   IN AND FOR THE COUNTY OF PIERCE
         9

        10
             ROY MILLER, individually, and as
             Personal Representative and beneficiary of           NO.
        11
             the Estate of BETTY MILLER (deceased),
                                                                  COMPLAINT FOR DAMAGES
        12
                                Plaintiff,
        13
                    V.
        14
             HOME DEPOT U.S.A., INC., a
        15   corporation doing business in Washington;
             and, HD DEVELOPMENT OF
        16   MARYLAND, INC., a corporation doing
             business in Washington
        17

        18
                               Defendant.
        19

        20                            I.     PARTIES, JURISDICTION AND VENUE

        21          1.       Decedent. .Betty Miller was born on June 12, 1934 and died on January 6, 2021.
        22          2.       Plaintiff. Roy Miller married decedent Betty Miller and was married to her at the
        23
             time of. her death. He maintains this action individually and as personal representative and
        24
             beneficiary of her estate.
        25                                                                EMERALD LAW GROUP, PLLC
              COMPLAINT FOR DAMAGES
              PAGE 1 OF 3                                                       12055 15'h Ave NE
                                                                              SEATTLE, WA 98125
                                                                               TEL: (206) 826-5160
                                                                              FAX: f2061922-5598
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v'



      1            3.       Defendant. The Home Depot USA., Inc and HD Development of Maryland Inc. are

      2   corporations doing business in Pierce County, Washington. They own and operate the Home Depot

      3   store located at 303 35TH Ave SE, Puyallup, WA 98374.
      4
                   4.       Jurisdiction and Venue. This case arises out of a personal injury accident in the
      5
          premises of the Home Depot store located in Puyallup, Washington. The above-entitled court has
      6
          jurisdiction, and venue is appropriate.
      7

      8
                                          II. FACTUAL BASIS FOR CLAIM
      9
                   On July 16, 2018, Decedent Betty Miller was at the Home Depot store located at 303
     10
          35TH Ave SE, Puyallup, WA 98374. As she was wallcing toward the entrance of the Home
     11

     12   Depot store premises, Mrs. Miller tripped on a hazard and fell, causing injury. She received

     13   medical treatment for her injury in the months thereafter. She died on January 6, 2021. Her fall at

     14   Home Depot contributed to her declining health and eventual death.

     15

     16
                                      III. CAUSE OF ACTION—NEGLIGENCE
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                   Defendant was negligent in one or more of the following particulars:
     18
                   (a)      in creating the hazard that caused Decedent Betty Miller to fall;
     19
                   (b)      in permitting an unreasonably hazardous condition to exist on the premises in the
     20
          store;
     21

     22            (c)      in failing to correct the hazardous condition in a timely fashion;

     23            (d)      in failing to warn of a hazardous condition;

     24

     25                                                                    EMERALD LAW GROUP, PLLC
           COMPLAINT FOR DAMAGES
           PAGE 2 OF 3                                                            12055 15'h Ave NE
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 1           (c)     in otherwise failing to exercise reasonable care to protect business invitees such as

 2   Mrs. Miller from harm.
 3           As a result of Defendants' negligence, Plaintiff was injured and suffered and continues to
 4
     suffer from disability, disfigurement, loss of enjoyment of life, mental and physical pain and
 5
     suffering, and emotional distress, and has incurred medical expenses and other damages.
 6

 7
                                        IV. PRAYER FOR RELIEF,
 8
             WHEREFORE, Plaintiff prays for judgment against Defendants in an amount to be proven
 9
     at the time of trial, including but not limited to the following: past medical expenses; pain and past
10

11   suffering; diminished ability to enjoy life; emotional distress; disability; disfigurement; all

12   expenses necessitated by the injuries alleged above; all costs of litigation, including attorneys' fees

13   and fees of expert witnesses; prejudgment interest and interest after judgment; such other and

14   further relief, at law or in equity, to which plaintiff may be justly entitled.

15

16           DATED this 15th day of July 2021.
17
                                                             EMERALD LAW GROUP, PLLC
18

19
                                                             ISIMLIYk DeYI"ZCOlt
20                                                           Mark Derricott, WSBA # 36122
                                                             Michael Gustafson WSBA #35666
21                                                           Attorney for Plaintiffs
22

23

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25                                                                    EMERALD LAW GROUP,PLLC
      COMPLAINT FOR DAMAGES
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